                Case 1:15-cv-00134-GSK Document 1                     Filed 05/06/15          Page 1 of 3




UNITED STATES COURT OF INTERNATIONAL TRADE                                                                  FORM 1

                                                                                 SUMMONS
BERGAN, LLC D/B/A BERGAN PETS                                                    In Actions Under
                                                                                 28 U.S.C. ' 1581 (a)
                                      Plaintiff,

           v.                                                                    15-00134

UNITED STATES,
                                      Defendant.



TO:        The Attorney General and the Secretary                of the Treasury:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C. '
1581(a) to contest denial of the protest specified below (and the protests listed in the attached
schedule).

                    L.S.                                                  ____________________________
                                                                                Clerk of the Court

                                                      PROTEST
 Port of                                                          Date Protest
 Entry             Kansas City, MO                                Filed:           February 26, 2014

 Protest                                                          Date Protest
 Number:          4501-14-100026, etc as per schedule attached    Denied:           December 4, 2014

 Importer: BERGAN, LLC D/B/A BERGAN PETS


 Category of
 Merchandise:      Pet Carriers


                              ENTRIES INVOLVED IN ABOVE PROTEST
     Entry                         Date of               Date of           Entry               Date of     Date of
    Number                         Entry               Liquidation          Number              Entry    Liquidati
                                                                                                         on
 279-5044261-9 and             10-28-12               9-13-13
 others as per
 schedule attached



                                                         Barnes, Richardson & Colburn , LLP
U.S. Customs & and Border Protection                     Attorneys for Plaintiff
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           Case 1:15-cv-00134-GSK Document 1                       Filed 05/06/15        Page 2 of 3




                                    CONTESTED ADMINISTRATIVE DECISION


                               Appraised Value of Merchandise


         Appraised:




         Protest Claim:



                               Classification, Rate or Amount

                                                                                         Protest Claim

                             Paragraph or                         Paragraph or
         Merchandise         Item Number         Assessed         Item Number
                                                                       Rate              Rate
                             Subheading
         Pet Carriers        4202.92.9026,       17.6% ad         Subheading             7.0%
                             HTSUS               valorem          6307.90.9889,
                                                                  HTSUS




                                Other
         State Specifically the Decision [as Described in 19 U.S.C. 1514(a

         The issue which was common to all such denied protests:
         Whether Customs properly classified the imported merchandise.

Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized
person in the importer’s behalf. The category of merchandise specified above was involved in each entry of
merchandise included in every such denied protest. The issue or issued stated above were common to all such
denied protests. All such protests were filed and denied as prescribed by law. All liquidated duties, charges or
exactions have been paid, and were paid at the port of entry unless otherwise shown.

May 6, 2015                        /s/ _____________________________________________
                                              ALAN GOGGINS
            Case 1:15-cv-00134-GSK Document 1                       Filed 05/06/15     Page 3 of 3



                                          SCHEDULE OF PROTESTS

Port of Entry: Kansas City, MO

      Protest             Date Protest      Date Protest   Entry                     Date of       Date of
      Number                 Filed            Denied       Number                     Entry      Liquidation

                                                           279-5044261-9      10-28-12         09-13-13
 4501-14-100026         02-26-14          12-04-14         279-5044306-2      11-06-12         09-20-13
                                                           279-5044536-4      12-14-12         10-25-13
                                                           279-5044581-0      12-18-12         11-01-13
                                                           279-5044718-2      01-07-13         11-22-13
                                                           279-5044716-2      01-07-13         11-22-13
                                                           279-5044884-8      01-29-13         12-13-13
                                                           279-5044928-3      02-05-13         12-20-13
                                                           279-5045003-4      02-19-13         01-03-14

 4501-14-100036         03-31-14          12-04-14         279-5045276-6      04-06-13         02-14-14
                                                           279-5045337-6      04-06-13         02-28-14

                                                           279-5045797-1      06-25-13         05-09-14
 4501-14-100049         06-14-14          12-04-14         279-5045796-3      06-25-13         05-09-14




United States Bureau of Customs & Border Protection
